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 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Brittney Johnson, on behalf of herself
     and all others similarly situated,            Case No.:
10
11                Plaintiff,                       CLASS ACTION COMPLAINT
12         v.
13
     Yuma Regional Medical Center,                 DEMAND FOR JURY TRIAL
14
15                Defendant.

16
17          Plaintiff Brittney Johnson (“Plaintiff”) brings this Class Action Complaint on behalf
18   of herself, and all others similarly situated against Defendant Yuma Regional Medical
19   Center (“Yuma Regional” or “Defendant”), and its present, former, or future direct and
20   indirect parent companies, subsidiaries, affiliates, agents, and/or other related entities, and
21
     alleges as follows:
22
                                    NATURE OF THE ACTION
23
            1.     On April 25, 2022, Defendant Yuma Regional Medical Center, a 406-bed,
24
     not-for-profit hospital established in 1964, identified a ransomware attack of its internal
25
     systems. Cybercriminals had unrestricted access to Yuma Regional’s files and systems
26
     from April 21, 2022 to April 25, 2022 (the “Data Breach”).
27
28
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 1          2.     As a result, Yuma Regional lost control of highly-sensitive files belonging

 2   to 700,000 patients that contained personal health information (“PHI”) 1, including names,

 3   Social Security numbers, health insurance information, and medical information relating

 4   to care received at Yuma Regional.
 5          3.     Not only did Yuma Regional fail to properly protect its patients’ PHI, Yuma
 6   Regional failed to timely notify its patients of the Data Breach, waiting over two months
 7   to send letters to impacted patients.
 8          4.     When Yuma Regional finally announced the Data Breach, it deliberately
 9   underplayed the Breach’s severity and obfuscated the nature of the Breach. Yuma
10   Regional’s Breach Notice sent to patients fails to explain how many people were impacted,
11   how the breach happened, or why it took over two months to send a bare-bones notice to
12   impacted patients.
13          5.     On information and belief, cybercriminals were able to breach Yuma
14
     Regional’s systems because Yuma Regional did not maintain reasonable security
15
     safeguards or protocols to protect its patients’ PHI, leaving it an unguarded target for theft
16
     and misuse. In fact, Yuma Regional confirms as much in its Breach Notice: “To help
17
     prevent something like this from happening again, we strengthened the security of our
18
19          1
              Under the Health Insurance Portability and Accountability Act, 42 U.S.C. § 1320d
     et seq., and its implementing regulations (“HIPAA”), “protected health information” is
20   defined as individually identifiable information relating to the past, present, or future health
     status of an individual that is created, collected, or transmitted, or maintained by a HIPAA-
21   covered entity in relation to the provision of healthcare, payment for healthcare services,
22   or use in healthcare operations. 45 C.F.R. § 160.103 Protected health information. A
     “covered entity” is further defined as, inter alia, a health care provider who transmits any
23   health information in electronic form in connection with a transaction covered by HIPAA.
     Id. Covered entity. Health information such as diagnoses, treatment information, medical
24   test results, and prescription information are considered protected health information under
     HIPAA, as are national identification numbers and demographic information such as birth
25   dates, gender, ethnicity, and contact and emergency contact information. Summary of the
26   HIPAA Privacy Rule, DEP’T FOR HEALTH & HUM. SERVS., https://www.hhs.gov/hipaa/for-
     professionals/privacy/laws-regulations/index.html (last accessed June 21, 2022). Yuma
27   Regional is clearly a “covered entity” and the data compromised in the Data Breach that
     this action arises out of is “protected health information” subject to HIPAA.
28



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 1   systems and will continue enhancing our protocols to safeguard the information in our

 2   care.” 2

 3              6.    Yuma Regional’s failure to timely detect and notify breach victims violates

 4   Arizona law and has made its patients vulnerable to identity theft without any warnings to
 5   monitor their financial accounts or credit reports to prevent unauthorized use of their PHI.
 6              7.    Yuma Regional is offering “free credit monitoring and identity theft
 7   protection services” for an unstated duration. Exh. A. This is insufficient protection for
 8   those impacted by the Data Breach as their PHI was taken by unknown cybercriminals and
 9   can be used at any time in the future. Yuma Regional’s offering will not prevent the
10   unauthorized use of its patients’ PHI and will merely serve to (possibly and hopefully)
11   notify them if and when their PHI is used.
12              8.    Yuma Regional knew or should have known that each victim of the Data
13   Breach deserved prompt and efficient notice of the Data Breach and assistance in
14
     mitigating the effects of PHI misuse.
15
                9.    Yuma Regional’s misconduct has injured the Plaintiff and members of the
16
     proposed Class, including: (i) the lost or diminished value of their PHI; (ii) costs associated
17
     with the prevention, detection, and recovery from identity theft, tax fraud, and other
18
     unauthorized use of their data; (iii) lost opportunity costs to mitigate the Data Breach’s
19
     consequences, including lost time; and (iv) emotional distress associated with the loss of
20
     control over their highly sensitive PHI.
21
                10.   Plaintiff and members of the proposed Class are victims of Defendant’s
22
     negligence and inadequate cyber security measures. Specifically, Plaintiff and members of
23
     the proposed Class trusted Defendant with their PHI. But Defendant betrayed that trust.
24
25   Defendant failed to properly use up-to-date security practices to prevent the Data Breach.

26
27           A true and accurate copy of the Breach Notice is attached to this complaint as
                2

     Exhibit A. See https://www.yumaregional.org/EmergeWebsite/media/Yuma-Documents/
28   Yuma-Regional-Medical-Center-Notice.pdf (last accessed June 21, 2022).



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 1          11.    Plaintiff and members of the proposed Class therefore bring this lawsuit

 2   seeking damages and relief for Defendant’s actions.

 3                                            PARTIES
 4          12.    Plaintiff Brittney Johnson is a natural person and citizen of Arizona, residing
 5
     in Yuma, Arizona. Ms. Johnson received notice of the data breach from Defendant Yuma
 6
     Regional Medical Center stating that her PHI was compromised by the Data Breach.
 7
            13.    Defendant Yuma Regional is an Arizona corporation with its principal place
 8
     of business at 2400 South Avenue A, Yuma, Arizona, in Yuma County, 85364.
 9
                                  JURISDICTION AND VENUE
10
11          14.     This Court has subject matter and diversity jurisdiction over this action
12   under 28 U.S.C. § 1332(d) because this is a class action wherein the amount of controversy
13   exceeds the sum or value of $5 million, exclusive of interest and costs, there are more
14   than 100 members in the proposed class, and at least one Class Member is a citizen of a
15   state different from Defendant to establish minimal diversity.
16          15.     This Court has personal jurisdiction over Yuma Regional because
17   Defendant is headquartered in Arizona and conducts substantial business in this District.
18          16.     Venue is proper in this District under 28 U.S.C. §1391(b) because
19   Defendant is headquartered in this District, and a substantial part of the events or
20
     omissions giving rise to Plaintiffs’ claims occurred in this District.
21
                                    FACTUAL ALLEGATIONS
22
23          A.     Yuma Regional’s Failure to Safeguard Patients’ PHI
24          17.    Plaintiff and members of the proposed Class are Yuma Regional’s current
25   and former patients.
26          18.    As a prerequisite of receiving treatment, Yuma Regional requires its patients
27
     to provide their PHI.
28



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 1          19.    On information and belief, Yuma Regional maintains records of its patients’

 2   information such as its patients’ full names, Social Security Numbers, financial account

 3   information, credit-card information, dates of birth, prescription information, diagnosis

 4   information, treatment information, treatment providers, health insurance information,
 5   medical information, and Medicare/Medicaid ID numbers, in the ordinary course of
 6   business. These records are stored on Yuma Regional’s computer systems.
 7          20.    When Yuma Regional collects this sensitive information, it promises to use
 8   reasonable measures to safeguard the PHI from theft and misuse.
 9          21.    In fact, Yuma Regional informs its patients that it collects, maintains and
10   safeguards their PHI (the “Privacy Policy). 3
11          22.    The Privacy Policy warrants that Yuma Regional is “committed to protecting
12   the confidentiality of [its patients’] medical information” and acknowledges its legal
13   requirements to protect and responsibly disclose PHI in certain enumerated situations to
14
     authorized individuals. Yuma Regional also admits its duty to notify its patients in the
15
     event that it discovers a breach of unsecured PHI. Exh. B.
16
            23.    Yuma Regional also grants its patients the right to “expect that treatment
17
     records are confidential unless you have given permission to release information or
18
     reporting is required or permitted by law.” 4
19
            24.    Yuma Regional represented to its patients that their PHI would be secure.
20
     Plaintiff and members of the proposed Class relied on such representations when they
21
     agreed to provide their PHI to Yuma Regional.
22
23
24
25
            3
              A true and correct copy of the Notice of Privacy Policy is attached hereto as
     Exhibit B. See https://www.yumaregional.org/About-Us/Notice-of-Privacy-Practices (last
26   accessed June 21, 2022).
27
            4
              A true and correct copy of the Patient Rights and Responsibilities is attached hereto
     as Exhibit C. See https://www.yumaregional.org/For-Patients/Your-Hospital-Stay/
28   Patient-Rights-and-Responsibilities (last accessed June 21, 2022).



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 1          25.    Despite its alleged commitments to securing sensitive patient data, Yuma

 2   Regional does not follow industry standard practices in securing patients’ PHI.

 3          26.    In April 2022, hackers bypassed Yuma Regional’s security safeguards and

 4   infiltrated its systems, giving them unfettered access to patients’ PHI.
 5          27.    The unauthorized individuals had access to patients’ PHI from April 21,
 6   2022, to April 25, 2022, and removed files from Yuma Regional’s systems. Exh. A.
 7          28.    In response to the Data Breach, Yuma Regional contends that it
 8   “strengthened the security of [its] systems and will continue enhancing [its] protocols to
 9   safeguard the information in [its] care.” Exh. A. These additional security measures should
10   have been in place before the Data Breach.
11          29.    Yuma Regional’s Breach Notice letter, as well as its website notice, both
12   omit the size and scope of the breach. Yuma Regional has demonstrated a pattern of
13   providing inadequate notices and disclosures about the Data Breach.
14
            30.    On information and belief, the Data Breach has impacted at least 700,000
15
     former and current Yuma Regional patients.
16
            31.    On information and belief, Yuma Regional does not adequately train its
17
     employees on cybersecurity policies, enforce those policies, or maintain reasonable
18
     security practices and systems.
19
            32.    Yuma Regional’s negligent conduct caused the Data Breach. Yuma Regional
20
     violated its obligation to implement best practices and comply with industry standards
21
     concerning computer system security. Yuma Regional failed to comply with security
22
     standards and allowed its patients’ PHI to be accessed and stolen by failing to implement
23
     security measures that could have prevented, mitigated, or timely detected the Data Breach.
24
25          33.    On information and belief, Yuma Regional notified victims of the Data

26   Breach that their PHI was accessed in the breach via notice letters resembling the Breach

27   Notice attached hereto as Exhibit A.

28



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 1             34.   Though Yuma Regional is offering free credit monitoring and identity theft

 2   protection services, breach victims do not know for how long these services will be

 3   provided. Exh. A.

 4             35.   This is significant because, once PHI is taken by unauthorized individuals,
 5   victims’ PHI can end up anywhere, be bought by anyone, and be used at any time in the
 6   future.
 7             36.   Despite the lifelong harm that the Data Breach poses to Yuma Regionals
 8   former and current patients, Yuma Regionals offering of these monitoring services do not
 9   adequately address the harm its patients have suffered and will continue to suffer for many
10   years to come.
11
               B.    Plaintiff’s Experience
12
               37.   Plaintiff Johnson is a former Yuma Regional patient.
13
14             38.   As a condition of receiving Yuma Regional’s medical services, Yuma

15   Regional required Plaintiff to provide her PHI to Yuma Regional.

16             39.   Plaintiff believed, as part of the payments to Yuma Regional for medical

17   treatment and services, that those payments included amounts for data security. Had
18   Plaintiff known that Yuma Regional did not utilize reasonable data security measures, she
19   would have paid less for those treatments and services.
20             40.   On June 9, 2022, Plaintiff received a Breach Notice letter in the mail.
21             41.   Plaintiff will have to spend considerable time and effort over the coming
22   years monitoring her accounts to protect herself from identity theft. Plaintiff’s personal
23   financial security has been jeopardized and there is uncertainty over what medical
24   information was revealed in the Data Breach.
25             42.   Had Plaintiff known that Yuma Regional does not adequately protect PHI,
26   she would not have transacted with Yuma Regional. Furthermore, Plaintiff’s sensitive PHI
27   remains in Yuma Regional’s possession without adequate protection against known
28



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 1   threats, exposing Plaintiff to the prospect of additional harm in the event Yuma Regional

 2   suffers another data breach.

 3          C.       Plaintiff and the Proposed Class Face Significant Risk of Continued
                     Identity Theft
 4
 5          43.      Plaintiff and members of the proposed Class have suffered injury from the
 6   misuse of their PHI that can be directly traced to Defendant.
 7          44.      The ramifications of Defendant’s failure to keep Plaintiff’s and the Class’s
 8   PHI secure are severe. Identity theft occurs when someone uses another’s personal and
 9   financial information such as that person’s name, account number, Social Security number,
10   driver’s license number, date of birth, and/or other information, without permission, to
11   commit fraud or other crimes.
12          45.      According to experts, one out of four data breach notification recipients
13   become a victim of identity fraud. 5
14
            46.      As a result of Defendant’s failures to prevent—and to timely detect—the
15
     Data Breach, Plaintiff and the proposed Class have suffered and will continue to suffer
16
     damages, including monetary losses, lost time, anxiety, and emotional distress. They have
17
     suffered or are at an increased risk of suffering:
18
                  a. The loss of the opportunity to control how their PHI is used;
19
                  b. The diminution in value of their PHI;
20
                  c. The compromise and continuing publication of their PHI;
21
                  d. Out-of-pocket costs associated with the prevention, detection, recovery, and
22
                     remediation from identity theft or fraud;
23
24
25          5
             Study Shows One in Four Who Receive Data Breach Letter Become Fraud Victims,
26   ThreatPost.com (Feb. 21, 2013), https://threatpost.com/study-shows-one-four-who-
     receive-data-breach-letter-become-fraud-victims-022013/77549/ (last visited June 21,
27   2022).
28



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 1                e. Lost opportunity costs and lost wages associated with the time and effort

 2                   expended addressing and attempting to mitigate the actual and future

 3                   consequences of the Data Breach, including, but not limited to, efforts spent

 4                   researching how to prevent, detect, contest, and recover from identity theft
 5                   and fraud;
 6                f. Delay in receipt of tax refund monies;
 7                g. Unauthorized use of stolen PHI; and
 8                h. The continued risk to their PHI, which remains in the possession of Yuma
 9                   Regional and is subject to further breaches so long as Yuma Regional fails
10                   to undertake the appropriate measures to protect the PHI in their possession.
11          47.      Stolen PHI is one of the most valuable commodities on the criminal
12   information black market. According to Experian, a credit-monitoring service, stolen PHI
13   can be worth up to $1,000.00 depending on the type of information obtained. 6
14
            48.      The value of Plaintiff’s and the proposed Class’s PHI on the black market is
15
     considerable. Stolen PHI trades on the black market for years, and criminals frequently
16
     post stolen private information openly and directly on various “dark web” internet
17
     websites, making the information publicly available, for a substantial fee of course.
18
            49.      It can take victims years to spot identity or PHI theft, giving criminals plenty
19
     of time to milk that information for cash.
20
            50.      One such example of criminals using PHI for profit is the development of
21
     “Fullz” packages. 7
22
23
            6
              See Here’s How Much Your Personal Information Is Selling for on the Dark Web,
     Experian, https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-
24   information-is-selling-for-on-the-dark-web/ (last visited June 21, 2022).
25
            7
              “Fullz” is fraudster speak for data that includes the information of the victim,
     including, but not limited to, the name, address, credit card information, social security
26   number, date of birth, and more. As a rule of thumb, the more information you have on a
     victim, the more money can be made off those credentials. Fullz are usually pricier than
27   standard credit card credentials, commanding up to $100 per record or more on the dark
     web. Fullz can be cashed out (turning credentials into money) in various ways, including
28   performing bank transactions over the phone with the required authentication details in-


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 1          51.    Cyber-criminals can cross-reference two sources of PHI to marry

 2   unregulated data available elsewhere to criminally stolen data with an astonishingly

 3   complete scope and degree of accuracy in order to assemble complete dossiers on

 4   individuals. These dossiers are known as “Fullz” packages.
 5          52.    The development of “Fullz” packages means that stolen PHI from the Data
 6   Breach can easily be used to link and identify it to Plaintiff’s and the proposed Class’s
 7   phone numbers, email addresses, and other unregulated sources and identifiers. In other
 8   words, even if certain information such as emails, phone numbers, or credit card numbers
 9   may not be included in the PHI stolen by the cyber-criminals in the Data Breach, criminals
10   can easily create a Fullz package and sell it at a higher price to unscrupulous operators and
11   criminals (such as illegal and scam telemarketers) over and over. That is exactly what is
12   happening to Plaintiff and members of the proposed Class, and it is reasonable for any trier
13   of fact, including this Court or a jury, to find that Plaintiff’s and other members of the
14
     proposed Class’s stolen PHI is being misused, and that such misuse is fairly traceable to
15
     the Data Breach.
16
            53.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet
17
     Crime Report, Internet-enabled crimes reached their highest number of complaints and
18
     dollar losses that year, resulting in more than $3.5 billion in losses to individuals and
19
     business victims.
20
21
22
23
24   hand. Even “dead Fullz”, which are Fullz credentials associated with credit cards that are
     no longer valid, can still be used for numerous purposes, including tax refund scams,
25   ordering credit cards on behalf of the victim, or opening a “mule account” (an account that
     will accept a fraudulent money transfer from a compromised account) without the victim’s
26   knowledge. See, e.g., Brian Krebs, Medical Records For Sale in Underground Stolen From
     Texas Life Insurance Firm, KREBS ON SECURITY, (Sep. 18, 2014), available at
27   https://krebsonsecurity.com/tag/fullz/, (last visited June 21, 2022).
28



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 1          54.    Further, according to the same report, “rapid reporting can help law

 2   enforcement stop fraudulent transactions before a victim loses the money for good.”

 3   Defendant did not rapidly report to Plaintiff and the Class that their PHI had been stolen.

 4          55.    Victims of identity theft also often suffer embarrassment, blackmail, or
 5   harassment in person or online, and/or experience financial losses resulting from
 6   fraudulently opened accounts or misuse of existing accounts.
 7          56.    In addition to out-of-pocket expenses that can exceed thousands of dollars
 8   and the emotional toll identity theft can take, some victims have to spend a considerable
 9   time repairing the damage caused by the theft of their PHI. Victims of new account identity
10   theft will likely have to spend time correcting fraudulent information in their credit reports
11   and continuously monitor their reports for future inaccuracies, close existing bank/credit
12   accounts, open new ones, and dispute charges with creditors.
13          57.    Further complicating the issues faced by victims of identity theft, data thieves
14
     may wait years before attempting to use the stolen PHI. To protect themselves, Plaintiff
15
     and the Class will need to be remain vigilant against unauthorized data use for years or
16
     even decades to come.
17
            58.    The Federal Trade Commission (“FTC”) has also recognized that consumer
18
     data is a new and valuable form of currency. In a FTC roundtable presentation, former
19
     Commissioner Pamela Jones Harbour stated that “most consumers cannot begin to
20
     comprehend the types and amount of information collected by businesses, or why their
21
     information may be commercially valuable. Data is currency.” 8
22
            59.    The FTC has also issued numerous guidelines for businesses that highlight
23
     the importance of reasonable data security practices. The FTC has noted the need to factor
24
25   data security into all business decision-making. 9 According to the FTC, data security

26          8
             Statement of FTC Commissioner Pamela Jones Harbour—Remarks Before FTC
27   Exploring Privacy Roundtable, (Dec. 7, 2009), http://www.ftc.gov/speeches/harbour/
     091207privacyroundtable.pdf (last visited June 21, 2022).
28         9
             Start With Security, A Guide for Business, FTC, https://www.ftc.gov/system/


                                                  11
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 1   requires: (1) encrypting information stored on computer networks; (2) retaining payment

 2   card information only as long as necessary; (3) properly disposing of personal information

 3   that is no longer needed; (4) limiting administrative access to business systems; (5) using

 4   industry-tested and accepted methods for securing data; (6) monitoring activity on
 5   networks to uncover unapproved activity; (7) verifying that privacy and security features
 6   function properly; (8) testing for common vulnerabilities; and (9) updating and patching
 7   third-party software. 10
 8          60.    According to the FTC, unauthorized PHI disclosures are extremely damaging
 9   to consumers’ finances, credit history and reputation, and can take time, money and
10   patience to resolve the fallout. 11 The FTC treats the failure to employ reasonable and
11   appropriate measures to protect against unauthorized access to confidential consumer data
12   as an unfair act or practice prohibited by Section 5(a) of the FTC Act.
13          61.    To that end, the FTC has issued orders against businesses that failed to
14
     employ reasonable measures to secure sensitive payment card data. See In the matter of
15
     Lookout Services, Inc., No. C-4326, ⁋ 7 (June 15, 2011) (“[Defendant] allowed users to
16
     bypass authentication procedures” and “failed to employ sufficient measures to detect and
17
     prevent unauthorized access to computer networks, such as employing an intrusion
18
     detection system and monitoring system logs.”); In the matter of DSW, Inc., No. C-4157,
19
     ⁋ 7 (Mar. 7, 2006) (“[Defendant] failed to employ sufficient measures to detect
20
     unauthorized access.”); In the matter of The TJX Cos., Inc., No. C-4227 (Jul. 29, 2008)
21
     (“[R]espondent stored . . . personal information obtained to verify checks and process
22
23
24   files/documents/plain-language/pdf0205-startwithsecurity.pdf (last visited June 21,
     2022).
25           10
                Id.
26           11
                See Taking Charge, What to Do If Your Identity is Stolen, FTC, at 3 (2012),
     https://www.ojp.gov/ncjrs/virtual-library/abstracts/taking-charge-what-do-if-your-
27   identity-stolen (last accessed June 21, 2022).
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 1   unreceipted returns in clear text on its in-store and corporate networks[,]” “did not require

 2   network administrators . . . to use different passwords to access different programs,

 3   computers, and networks[,]” and “failed to employ sufficient measures to detect and

 4   prevent unauthorized access to computer networks . . .”); In the matter of Dave & Buster’s
 5   Inc., No. C-4291 (May 20, 2010) (“[Defendant] failed to monitor and filter outbound traffic
 6   from its networks to identify and block export of sensitive personal information without
 7   authorization” and “failed to use readily available security measures to limit access
 8   between instore networks . . .”). These orders, which all preceded the Data Breach, further
 9   clarify the measures businesses must take to meet their data security obligations. Yuma
10   Regional thus knew or should have known that its data security protocols were inadequate
11   and were likely to result in the unauthorized access to and/or theft of PHI.
12          62.    The healthcare industry is a prime target for data breaches.
13          63.    Over the past several years, data breaches have become alarmingly
14
     commonplace. In 2016, the number of data breaches in the U.S. exceeded 1,000, a 40%
15
     increase from 2015. 12 The next year, that number increased by nearly 45%. 13 The following
16
     year the healthcare sector was the second easiest “mark” among all major sectors and
17
     categorically had the most widespread exposure per data breach. 14
18
            64.    Data breaches within the healthcare industry continued to increase rapidly.
19
     According to the 2019 Healthcare Information and Management Systems Society
20
21
22          12
                Data Breaches Increase 40 Percent in 2016, Finds New Report From Identity
23   Theft Resource Center and CyberScout, IDENTITY THEFT RESOURCE CENTER (“ITRC”)
     (Jan. 19, 2017), https://bit.ly/30Gew91 [hereinafter “Data Breaches Increase 40 Percent in
24   2016”] (last accessed June 21, 2022).
             13
25              Data Breaches Up Nearly 45 Percent According to Annual Review by Identity
     Theft Resource Center® and CyberScout®, ITRC (Jan. 22, 2018), https://bit.ly/3jdGcYR
26   [hereinafter “Data Breaches Up Nearly 45 Percent”] (last accessed June 21, 2022).
27
             14
                 2018 End-of-Year Data Breach Report, ITRC (Feb. 20, 2019),
     https://www.idtheftcenter.org/wp-content/uploads/2019/02/ITRC_2018-End-of-Year-
28   Aftermath_FINAL_V2_combinedWEB.pdf. (last accessed June 21, 2022).



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 1   Cybersecurity Survey, 68% of participating vendors reported having a significant security

 2   incident within the last 12 months, with a majority of those being caused by “bad actors.” 15

 3          65.     The healthcare sector reported the second largest number of breaches among

 4   all measured sectors in 2018, with the highest rate of exposure per breach. 16 Indeed, when
 5   compromised, healthcare related data is among the most sensitive and personally
 6   consequential. A report focusing on healthcare breaches found that the “average total cost
 7   to resolve an identity theft-related incident . . . came to about $20,000,” and that the victims
 8   were often forced to pay out-of-pocket costs for healthcare they did not receive in order to
 9   restore coverage. 17 Almost 50 percent of the victims lost their healthcare coverage as a
10   result of the incident, while nearly 30 percent said their insurance premiums went up after
11   the event. Forty percent of the customers were never able to resolve their identity theft at
12   all. Data breaches and identity theft have a crippling effect on individuals and detrimentally
13   impact the economy as a whole. 18
14
            66.     The healthcare industry has “emerged as a primary target because [it sits] on
15
     a gold mine of sensitive personally identifiable information for thousands of patients at any
16
     given time. From social security and insurance policies to next of kin and credit cards, no
17
     other organization, including credit bureaus, ha[s] so much monetizable information stored
18
     in their data centers.” 19
19
20
21          15
                2019 HIMSS Cybersecurity Survey, HEALTHCARE INFORMATION AND
     MANAGEMENT SYSTEMS SOCIETY, INC. (Feb. 8, 2019), https://bit.ly/3LJqUr6 (last
22   accessed June 21, 2022).
23          16
               2018 End-of-Year Data Breach Report, supra FN14.
24
            17
               Elinor Mills, Study: Medical Identity Theft Is Costly for Victims, CNET (Mar. 3,
     2010), https://cnet.co/33uiV0v (last accessed June 21, 2022).
25          18
               Id.
26          19
               Eyal Benishti, How to Safeguard Hospital Data from Email Spoofing Attacks,
     INSIDE DIGITAL HEALTH (Apr. 4, 2019), https://bit.ly/3x6fz08 (last accessed June 21,
27   2022).
28



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 1          67.    Charged with handling highly sensitive Personal Information including

 2   healthcare information, financial information, and insurance information, Defendant knew

 3   or should have known the importance of safeguarding the Personal Information that was

 4   entrusted to it. Defendant also knew or should have known of the foreseeable consequences
 5   if its data security systems were breached. This includes the significant costs that would be
 6   imposed on Defendant’s patients as a result of a breach. Defendant nevertheless failed to
 7   take adequate cybersecurity measures to prevent the Data Breach from occurring.
 8          68.    Defendant disclosed the PHI of Plaintiff and members of the proposed Class
 9   for criminals to use in the conduct of criminal activity. Specifically, Defendant opened up,
10   disclosed, and exposed the PHI of Plaintiff and members of the proposed Class to people
11   engaged in disruptive and unlawful business practices and tactics, including online account
12   hacking, unauthorized use of financial accounts, and fraudulent attempts to open
13   unauthorized financial accounts (i.e., identity fraud), all using the stolen PHI.
14
            69.    Defendant’s use of outdated and insecure computer systems and software
15
     that are easy to hack, and its failure to maintain adequate security measures and an up-to-
16
     date technology security strategy, demonstrates a willful and conscious disregard for
17
     privacy, and has exposed the PHI of Plaintiff and potentially thousands of members of the
18
     proposed Class to unscrupulous operators, con artists and outright criminals.
19
            70.    Defendant’s failure to properly notify Plaintiff and members of the proposed
20
     Class of the Data Breach exacerbated Plaintiff’s and members of the proposed Class’s
21
     injury by depriving them of the earliest ability to take appropriate measures to protect their
22
     PHI and take other necessary steps to mitigate the harm caused by the Data Breach.
23
24          D. Yuma Regional Failed to Adhere to HIPAA
25          71.    HIPAA circumscribes security provisions and data privacy responsibilities
26   designed to keep patients’ medical information safe. HIPAA compliance provisions,
27
     commonly known as the Administrative Simplification Rules, establish national standards
28



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     for electronic transactions and code sets to maintain the privacy and security of protected
 1
     health information. 20
 2
            72.      HIPAA provides specific privacy rules that require comprehensive
 3
     administrative, physical, and technical safeguards to ensure the confidentiality, integrity,
 4
     and security of PHI is properly maintained. 21
 5
 6          73.      The Data Breach itself resulted from a combination of inadequacies showing

 7   Yuma Regional failed to comply with safeguards mandated by HIPAA. Yuma Regional’s
 8   security failures include, but are not limited to:
 9                a. Failing to ensure the confidentiality and integrity of electronic PHI that it
10                   creates, receives, maintains and transmits in violation of 45 C.F.R. §
                     164.306(a)(1);
11
                  b. Failing to protect against any reasonably-anticipated threats or hazards to the
12                   security or integrity of electronic PHI in violation of 45 C.F.R. §
13                   164.306(a)(2);
14                c. Failing to protect against any reasonably anticipated uses or disclosures of
                     electronic PHI that are not permitted under the privacy rules regarding
15
                     individually identifiable health information in violation of 45 C.F.R. §
16                   164.306(a)(3);
17                d. Failing to ensure compliance with HIPAA security standards by Yuma
18                   Regional’s workforce in violation of 45 C.F.R. § 164.306(a)(4);

19                e. Failing to implement technical policies and procedures for electronic
                     information systems that maintain electronic PHI to allow access only to
20
                     those persons or software programs that have been granted access rights in
21                   violation of 45 C.F.R. § 164.312(a)(1);
22
23
            20
               HIPAA lists 18 types of information that qualify as PHI according to guidance
24   from the Department of Health and Human Services Office for Civil Rights, and includes,
     inter alia: names, addresses, any dates including dates of birth, Social Security numbers,
25   and medical record numbers.
26          21
               See 45 C.F.R. § 164.306 (Security standards and General rules); 45 C.F.R. §
     164.308 (Administrative safeguards); 45 C.F.R. § 164.310 (Physical safeguards); 45 C.F.R.
27   § 164.312 (Technical safeguards).
28



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 1                f. Failing to implement policies and procedures to prevent, detect, contain and
                     correct security violations in violation of 45 C.F.R. § 164.308(a)(1);
 2
                  g. Failing to identify and respond to suspected or known security incidents and
 3
                     failing to mitigate, to the extent practicable, harmful effects of security
 4                   incidents that are known to the covered entity in violation of 45 C.F.R. §
                     164.308(a)(6)(ii);
 5
 6                h. Failing to effectively train all staff members on the policies and procedures
                     with respect to PHI as necessary and appropriate for staff members to carry
 7                   out their functions and to maintain security of PHI in violation of 45 C.F.R.
 8                   § 164.530(b) and 45 C.F.R. § 164.308(a)(5); and

 9                i. Failing to design, implement, and enforce policies and procedures
                     establishing physical and administrative safeguards to reasonably safeguard
10                   PHI, in compliance with 45 C.F.R. § 164.530(c).
11
            E. Yuma Regional Failed to Adhere to FTC Guidelines
12
            74.      According to the Federal Trade Commission (“FTC”), the need for data
13
     security should be factored into all business decision-making. 22 To that end, the FTC has
14
     issued numerous guidelines identifying best data security practices that businesses, such as
15
16   Yuma Regional, should employ to protect against the unlawful exposure of Personal

17   Information.

18          75.      In 2016, the FTC updated its publication, Protecting Personal Information:

19   A Guide for Business, which established guidelines for fundamental data security principles
20   and practices for business. 23 The guidelines explain that businesses should:
21                a. protect the personal customer information that they keep;
22                b. properly dispose of personal information that is no longer needed;
23                c. encrypt information stored on computer networks;
24
25          22
                Start with Security: A Guide for Business, FED. TRADE COMM’N (June 2015),
26   https://bit.ly/3uSoYWF (last accessed June 21, 2022).
             23
                Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N
27   (Oct. 2016), https://bit.ly/3u9mzre (last accessed June 21, 2022).
28



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 1                d. understand their network’s vulnerabilities; and

 2                e. implement policies to correct security problems.

 3          76.      The guidelines also recommend that businesses watch for large amounts of

 4   data being transmitted from the system and have a response plan ready in the event of a
 5   breach.
 6          77.      The FTC recommends that companies not maintain PHI longer than is
 7   needed for authorization of a transaction; limit access to sensitive data; require complex
 8   passwords to be used on networks; use industry-tested methods for security; monitor for
 9   suspicious activity on the network; and verify that third-party service providers have
10   implemented reasonable security measures. 24
11          78.      The FTC has brought enforcement actions against businesses for failing to
12   adequately and reasonably protect customer data, treating the failure to employ reasonable
13   and appropriate measures to protect against unauthorized access to confidential consumer
14
     data as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission
15
     Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the
16
     measures businesses must take to meet their data security obligations.
17
            79.      Yuma Regional’s failure to employ reasonable and appropriate measures to
18
     protect against unauthorized access to patient PHI constitutes an unfair act or practice
19
     prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.
20
21                               CLASS ACTION ALLEGATIONS

22          80.      Plaintiff brings this action on behalf of herself, and all members of the
23   proposed Class (the “Class”) pursuant to Ariz. R. Civ. P. 23(b)(2) and (b)(3) as defined as:
24
                     All Yuma Regional Medical Center patients whose PHI was
25                   accessed in the Data Breach.
26
27
28          24
                 See Start with Security, supra FN22.



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 1          81.      The following people are excluded from the Class: (1) any judge or

 2   magistrate presiding over this action and members of their families; (2) Defendant,

 3   Defendant’s subsidiaries, parents, successors, predecessors, affiliated entities, and any

 4   entity in which Defendant or its parent has a controlling interest, and their current or former
 5   officers and directors; (3) persons who properly execute and file a timely request for
 6   exclusion from the Class; (4) persons whose claims in this matter have been finally
 7   adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and Defendant’s
 8   counsel; and (6) the legal representatives, successors, and assigns of any such excluded
 9   persons.
10          82.      The Class defined above is identifiable through Defendant’s business
11   records.
12          83.      Plaintiff reserves the right to amend the class definition.
13          84.      This action is properly maintainable as a class action under Ariz. R. Civ. P.
14
     23.
15
            85.      Numerosity. Plaintiff is representative of the proposed Class, consisting of
16
     thousands of members, far too many to join in a single action.
17
            86.      Commonality. There are many questions of law and fact common to the
18
     claims of Plaintiff and the Class, and those questions predominate over any questions that
19
     may affect individual members of the Class. Common questions for the Class include, but
20
     are not necessarily limited to the following:
21
22                a. Whether Defendant had a duty to use reasonable care to safeguard Plaintiff’s
                     and members of the Class’s PHI;
23
                  b. Whether Defendant breached the duty to use reasonable care to safeguard
24
                     members of the Class’s PHI;
25
                  c. Whether Defendant breached its contractual promises to safeguard Plaintiff’s
26                   and members of the Class’s PHI;
27
28



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 1          d. Whether Defendant knew or should have known about the inadequacies of
               its data security policies and system and the dangers associated with storing
 2             sensitive PHI;
 3
            e. Whether Defendant failed to use reasonable care and commercially
 4             reasonable methods to safeguard and protect Plaintiff’s and members of the
               Class’s PHI from unauthorized release and disclosure;
 5
 6          f. Whether the proper data security measures, policies, procedures, and
               protocols were in place and operational within Defendant’s computer
 7             systems to safeguard and protect Plaintiff’s and members of the Class’s PHI
 8             from unauthorized release and disclosure;

 9          g. Whether Defendant took reasonable measures to determine the extent of the
               Data Breach after it was discovered;
10
11          h. Whether Defendant’s delay in informing Plaintiff and members of the Class
               of the Data Breach was unreasonable;
12
            i. Whether Defendant’s method of informing Plaintiff and other members of
13             the Class of the Data Breach was unreasonable;
14
            j. Whether Defendant’s conduct was likely to deceive the public;
15
            k. Whether Defendant is liable for negligence or gross negligence;
16
17          l. Whether Defendant’s conduct, practices, statements, and representations
               about the Data Breach of the PHI violated applicable state laws;
18
            m. Whether Plaintiff and members of the Class were injured as a proximate
19             cause or result of the Data Breach;
20
            n. Whether Plaintiff and members of the Class were damaged as a proximate
21             cause or result of Defendant’s breach of its contract with Plaintiff and
               members of the Class;
22
23          o. Whether Defendant’s practices and representations related to the Data Breach
               breached implied warranties;
24
            p. What the proper measure of damages is; and
25
26          q. Whether Plaintiff and members of the Class are entitled to restitutionary,
               injunctive, declaratory, or other relief.
27
28



                                             20
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 1          87.      Typicality. Plaintiff’s claims are typical of the claims of other members of

 2   the Class in that Plaintiff, and the members of the Class sustained damages arising out of

 3   Defendant’s Data Breach, wrongful conduct and misrepresentations, false statements,

 4   concealment, and unlawful practices, and Plaintiff and members of the Class sustained
 5   similar injuries and damages, as a result of Defendant’s uniform illegal conduct.
 6          88.      Adequacy of Representation. Plaintiff will fairly and adequately represent
 7   and protect the interests of the Class and has retained counsel competent and experienced
 8   in complex class actions to vigorously prosecute this action on behalf of the Class. Plaintiff
 9   has no interests that conflict with, or are antagonistic to those of, the Class, and Defendant
10   has no defenses unique to Plaintiff.
11          89.      Superiority of Class Action. A class action is also a fair and efficient
12   method of adjudicating the controversy because class proceedings are superior to all other
13   available methods for the fair and efficient adjudication of this controversy as joinder of
14
     all parties is impracticable. The damages suffered by the individual members of the Class
15
     will likely be relatively small, especially given the burden and expense of individual
16
     prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it would
17
     be virtually impossible for the individual members of the Class to obtain effective relief
18
     from Defendant’s misconduct. Even if members of the Class could sustain such individual
19
     litigation, it would still not be preferable to a class action, because individual litigation
20
     would increase the delay and expense to all parties due to the complex legal and factual
21
     controversies presented in this Complaint. By contrast, a class action presents far fewer
22
     management difficulties and provides the benefits of single adjudication, economy of scale,
23
     and comprehensive supervision by a single court. Economies of time, effort, and expense
24
25   will be fostered, and uniformity of decisions ensured.

26          90.      A class action is therefore superior to individual litigation because:

27                a. The amount of damages available to an individual plaintiff is insufficient to
                     make litigation addressing Defendant’s conduct economically feasible in the
28                   absence of the class action procedural device;


                                                    21
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 1
                  b. Individualized litigation would present a potential for inconsistent or
 2                   contradictory judgments, and increases the delay and expense to all parties
 3                   and the court system; and

 4                c. The class action device presents far fewer management difficulties and
 5                   provides the benefits of a single adjudication, economy of scale, and
                     comprehensive supervision by a single court.
 6
            91.      The litigation of the claims brought herein is manageable. Yuma Regional’s
 7
     uniform conduct, the consistent provisions of the relevant laws, and the ascertainable
 8
 9   identities of Class members demonstrates that there would be no significant manageability

10   problems with prosecuting this lawsuit as a class action.

11          92.      Adequate notice can be given to Class members directly using information

12   maintained in Yuma Regional’s records.

13          93.      Predominance. Pursuant to Rule 23(b)(3), the issues in this action are
14   appropriate for certification because such claims present only particular, common issues,
15   the resolution of which would advance the disposition of this matter and the parties’
16   interests therein. Such particular issues include but are not limited to the questions
17   identified above.
18          94.      This proposed class action does not present any unique management
19   difficulties.
20                                 FIRST CAUSE OF ACTION
21                                           Negligence
                                (On Behalf of Plaintiff and the Class)
22
            95.      Plaintiff re-alleges and incorporates by reference herein all of the allegations
23
     contained in paragraphs 1 through 79.
24
25          96.      Plaintiff and members of the Class entrusted their PHI to Defendant.

26   Defendant owed to Plaintiff and other members of the Class a duty to exercise reasonable

27   care in handling and using the PHI in its care and custody, including implementing

28   industry-standard security procedures sufficient to reasonably protect the information from



                                                    22
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 1   the Data Breach, theft, and unauthorized use that came to pass, and to promptly detect

 2   attempts at unauthorized access.

 3          97.    Defendant owed a duty of care to Plaintiff and members of the Class because

 4   it was foreseeable that Defendant’s failure to adequately safeguard their PHI in accordance
 5   with state-of-the-art industry standards concerning data security would result in the
 6   compromise of that PHI—just like the Data Breach that ultimately came to pass. Defendant
 7   acted with wanton and reckless disregard for the security and confidentiality of Plaintiff’s
 8   and members of the Class’s PHI by disclosing and providing access to this information to
 9   third parties and by failing to properly supervise both the manner in which the PHI was
10   stored, used, and exchanged, and those in its employ who were responsible for making that
11   happen.
12          98.    Defendant owed Plaintiff and members of the Class a duty to notify them
13   within a reasonable time frame of any breach to the security of their PHI. Defendant also
14
     owed a duty to timely and accurately disclose to Plaintiff and members of the Class the
15
     scope, nature, and occurrence of the Data Breach. This duty is required and necessary in
16
     order for Plaintiff and members of the Class to take appropriate measures to protect their
17
     PHI, to be vigilant in the face of an increased risk of harm, and to take other necessary
18
     steps in an effort to mitigate the harm caused by the Data Breach.
19
            99.    Defendant owed these duties to Plaintiff and members of the Class because
20
     they are members of a well-defined, foreseeable, and probable class of individuals whom
21
     Defendant knew or should have known would suffer injury-in-fact from Defendant’s
22
     inadequate security protocols. Defendant actively sought and obtained Plaintiff’s and
23
     members of the Class’s personal information and PHI for medical treatment services.
24
25   Plaintiff and members of the Class were required to provide their personal information and

26   PHI to Defendant in order to receive medical treatment and services, and Defendant

27   retained that information.

28



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 1          100.   The risk that unauthorized persons would attempt to gain access to the PHI

 2   and misuse it was foreseeable. Given that Defendant holds vast amounts of PHI, it was

 3   inevitable that unauthorized individuals would attempt to access Defendant’s databases

 4   containing the PHI.
 5          101.   PHI is highly valuable, and Defendant knew, or should have known, the risk
 6   in obtaining, using, handling, emailing, and storing the PHI of Plaintiff and members of
 7   the Class and the importance of exercising reasonable care in handling it.
 8          102.   Defendant breached its duties by failing to exercise reasonable care in
 9   supervising its agents, contractors, vendors, and suppliers, and in handling and securing
10   the personal information and PHI of Plaintiff and members of the Class which actually and
11   proximately caused the Data Breach and Plaintiff’s and members of the Class’s injury.
12   Defendant further breached its duties by failing to provide reasonably timely notice of the
13   Data Breach to Plaintiff and members of the Class, which actually and proximately caused
14
     and exacerbated the harm from the Data Breach and Plaintiff’s and members of the Class’s
15
     injuries-in-fact. As a direct and traceable result of Defendant’s negligence and/or negligent
16
     supervision, Plaintiff and members of the Class have suffered or will suffer damages,
17
     including monetary damages, increased risk of future harm, embarrassment, humiliation,
18
     frustration, and emotional distress.
19
            103.   Defendant’s breach of its common-law duties to exercise reasonable care and
20
     its failures and negligence actually and proximately caused Plaintiff’s and members of the
21
     Class’s actual, tangible, injury-in-fact and damages, including, without limitation, the theft
22
     of their PHI by criminals, improper disclosure of their PHI, lost benefit of their bargain,
23
     lost value of their PHI, and lost time and money incurred to mitigate and remediate the
24
25   effects of the Data Breach that resulted from and were caused by Defendant’s negligence,

26   which injury-in-fact and damages are ongoing, imminent, immediate, and which they

27   continue to face.

28



                                                  24
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 1                                SECOND CAUSE OF ACTION
                                        Negligence Per Se
 2                              (On Behalf of Plaintiff and the Class)
 3
            104.     Plaintiff re-alleges and incorporates by reference herein all of the allegations
 4
     contained in paragraphs 1 through 79.
 5
            105.     Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide
 6
     fair and adequate computer systems and data security practices to safeguard Plaintiff’s and
 7
     members of the Class’s PHI.
 8
            106.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting
 9
     commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice
10
     by businesses, such as Defendant, of failing to use reasonable measures to protect
11
12   customers or, in this case, patients’ PHI. The FTC publications and orders promulgated

13   pursuant to the FTC Act also form part of the basis of Defendant’s duty to protect Plaintiff’s

14   and the members of the Class’s sensitive PII.

15          107.     Defendant violated its duty under Section 5 of the FTC Act by failing to use

16   reasonable measures to protect Plaintiff’s and the Class’s PHI and not complying with
17   applicable industry standards as described in detail herein. Defendant’s conduct was
18   particularly unreasonable given the nature and amount of PHI Defendant had collected and
19   stored and the foreseeable consequences of a data breach, including, specifically, the
20   immense damages that would result to its patients in the event of a breach, which ultimately
21   came to pass.
22          108.     The harm that has occurred is the type of harm the FTC Act is intended to
23   guard against. Indeed, the FTC has pursued numerous enforcement actions against
24   businesses that, because of their failure to employ reasonable data security measures and
25
     avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiff and
26
     members of the Class.
27
28



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 1          109.    Defendant had a duty to Plaintiff and the members of the Class to implement

 2   and maintain reasonable security procedures and practices to safeguard Plaintiff’s and the

 3   Class’s PII.

 4          110.    Defendant breached its respective duties to Plaintiff and members of the
 5   Class under the FTC Act by failing to provide fair, reasonable, or adequate computer
 6   systems and data security practices to safeguard Plaintiff’s and members of the Class’s PII.
 7          111.    Defendant’s violation of Section 5 of the FTC Act and its failure to comply
 8   with applicable laws and regulations constitutes negligence per se.
 9          112.    Pursuant to HIPAA (42 U.S.C. § 1302d, et seq.), Defendant had a duty to
10   implement reasonable safeguards to protect Plaintiff’s and Class members’ PHI.
11          113.    Pursuant to HIPAA, Defendant had a duty to render the electronic PHI it
12   maintained unusable, unreadable, or indecipherable to unauthorized individuals, as
13   specified in the HIPAA Security Rule by “the use of an algorithmic process to transform
14
     data into a form in which there is a low probability of assigning meaning without use of a
15
     confidential process or key” (45 C.F.R. § 164.304 definition of encryption).
16
            114.    Plaintiff and Class members are within the class of persons that the HIPAA
17
     was intended to protect.
18
            115.    The harm that occurred as a result of the Data Breach is the type of harm that
19
     HIPAA was intended to guard against. The Federal Health and Human Services’ Office for
20
     Civil Rights (“OCR”) has pursued enforcement actions against businesses, which, as a
21
     result of their failure to employ reasonable data security measures relating to protected
22
     health information, caused the same harm as that suffered by Plaintiff and the Class
23
     members.
24
25          116.    Defendant breached its duties to Plaintiff and the Class under HIPAA, by

26   failing to provide fair, reasonable, or adequate computer systems and data security

27   practices to safeguard Plaintiff’s and Class members’ PHI.

28



                                                  26
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 1          117.     Defendant’s failure to comply with applicable laws and regulations

 2   constitutes negligence per se.

 3          118.     But for Defendant’s wrongful and negligent breach of its duties owed to

 4   Plaintiff and members of the Class, Plaintiff and members of the Class would not have
 5   been injured.
 6          119.     The injury and harm suffered by Plaintiff and members of the Class were the
 7   reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or should
 8   have known that Defendant was failing to meet its duties and that its breach would cause
 9   Plaintiff and members of the Class to suffer the foreseeable harms associated with the
10   exposure of their PHI.
11          120.     Had Plaintiff and members of the Class known that Defendant did not
12   adequately protect their PHI, Plaintiff and members of the Class would not have entrusted
13   Defendant with their PHI.
14
            121.     As a direct and proximate result of Defendant’s negligence per se, Plaintiff
15
     and members of the Class have suffered harm, including loss of time and money resolving
16
     fraudulent charges; loss of time and money obtaining protections against future identity
17
     theft; lost control over the value of PII; unreimbursed losses relating to fraudulent charges;
18
     losses relating to exceeding credit and debit card limits and balances; harm resulting from
19
     damaged credit scores and information; and other harm resulting from the unauthorized
20
     use or threat of unauthorized use of stolen personal information, entitling them to damages
21
     in an amount to be proven at trial.
22
23                                 THIRD CAUSE OF ACTION
                                  Breach of an Implied Contract
24                              (On Behalf of Plaintiff and the Class)
25
            122.     Plaintiff re-alleges and incorporates by reference herein all of the allegations
26
     contained in paragraphs 1 through 79.
27
28



                                                    27
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 1          123.   Defendant offered to provide goods and services to Plaintiff and members of

 2   the Class in exchange for payment.

 3          124.   Defendant also required Plaintiff and the members of the Class to provide

 4   Defendant with their PHI in order to receive goods and services.
 5          125.   In turn, and through the Privacy Policy, Defendant agreed it would not
 6   disclose the PHI it collects from patients to unauthorized persons. Defendant also promised
 7   to maintain safeguards to protect its patients’ PHI.
 8          126.   Plaintiff and the members of the Class accepted Defendant’s offer by
 9   providing PHI to Defendant in exchange for receiving Defendant’s goods and services and
10   then by paying for and receiving the same.
11          127.   Implicit in the parties’ agreement was that Defendant would provide Plaintiff
12   and members of the Class with prompt and adequate notice of any and all unauthorized
13   access and/or theft of their PHI.
14
            128.   Plaintiff and the members of the Class would not have entrusted their PHI to
15
     Defendant in the absence of such agreement with Defendant.
16
            129.   Defendant materially breached the contract(s) it had entered with Plaintiff
17
     and members of the Class by failing to safeguard such information and failing to notify
18
     them promptly of the intrusion into its systems that compromised such information.
19
     Defendant further breached the implied contracts with Plaintiff and members of the Class
20
     by:
21
               a. Failing to properly safeguard and protect Plaintiff’s and members of the
22                Class’s PHI;
23             b. Failing to comply with industry standards as well as legal obligations that are
24                necessarily incorporated into the parties’ agreement; and
25             c. Failing to ensure the confidentiality and integrity of electronic PHI that
26                Defendant created, received, maintained, and transmitted in violation of 45
                  C.F.R. § 164.306(a)(1).
27
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 1          130.     The damages sustained by Plaintiff and members of the Class as described

 2   above were the direct and proximate result of Defendant’s material breaches of its

 3   agreement(s).

 4          131.     Plaintiff and members of the Class have performed as required under the
 5   relevant agreements, or such performance was waived by the conduct of Defendant.
 6          132.     The covenant of good faith and fair dealing is an element of every contract.
 7   All such contracts impose upon each party a duty of good faith and fair dealing. The parties
 8   must act with honesty in fact in the conduct or transactions concerned. Good faith and fair
 9   dealing, in connection with executing contracts and discharging performance and other
10   duties according to their terms, means preserving the spirit—not merely the letter—of the
11   bargain. Put differently, the parties to a contract are mutually obligated to comply with the
12   substance of their contract in addition to its form.
13          133.     Subterfuge and evasion violate the obligation of good faith in performance
14
     even when an actor believes their conduct to be justified. Bad faith may be overt or may
15
     consist of inaction, and fair dealing may require more than honesty.
16
            134.     Defendant had an implied duty to reasonably safeguard and protect the PHI
17
     of Plaintiff and Class members from unauthorized disclosure or uses.
18
            135.     Additionally, Defendant implicitly promised to retain this PHI only under
19
     conditions that kept such information secure and confidential.
20
            136.     Plaintiff and Class members fully performed their obligations under the
21
     implied contract with Defendant. Defendant did not. Plaintiff and Class members would
22
     not have provided their confidential PHI to Defendant in the absence of their implied
23
     contracts with Defendant and would have instead retained the opportunity to control their
24
25   PHI for uses other than medical treatment, billing, and benefits from Defendant.

26          137.     Defendant failed to advise Plaintiff and members of the Class of the Data

27   Breach promptly and sufficiently.

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 1          138.   In these and other ways, Defendant violated its duty of good faith and fair

 2   dealing.

 3          139.   Plaintiff and members of the Class have sustained damages as a result of

 4   Defendant’s breaches of its agreement, including breaches thereof through violations of the
 5   covenant of good faith and fair dealing.
 6                              FOURTH CAUSE OF ACTION
 7                                   Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)
 8
            140.   Plaintiff re-alleges and incorporates by reference herein all of the allegations
 9
10   contained in paragraphs 1 through 79.

11          141.   This claim is pleaded in the alternative to the breach of implied contractual

12   duty claim.

13          142.   Plaintiff and members of the Class conferred a monetary benefit upon
14   Defendant in the form of monies paid for treatment services.
15          143.   Defendant appreciated or had knowledge of the benefits conferred upon itself
16   by Plaintiff and members of the Class. Defendant also benefited from the receipt of
17   Plaintiff’s and members of the Class’s PHI, as this was used to facilitate payment and
18   treatment services.
19          144.   As a result of Defendant’s conduct, Plaintiff and members of the Class
20   suffered actual damages in an amount equal to the difference in value between their
21   purchases made with reasonable data privacy and security practices and procedures that
22   Plaintiff and members of the Class paid for, and those purchases without unreasonable data
23
     privacy and security practices and procedures that they received.
24
            145.   Under principals of equity and good conscience, Defendant should not be
25
     permitted to retain the money belonging to Plaintiff and members of the Class because
26
     Defendant failed to implement (or adequately implement) the data privacy and security
27
28



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 1   practices and procedures for itself that Plaintiff and members of the Class paid for and that

 2   were otherwise mandated by federal, state, and local laws and industry standards.

 3          146.   Defendant should be compelled to disgorge into a common fund for the

 4   benefit of Plaintiff and members of the Class all unlawful or inequitable proceeds received
 5   by it as a result of the conduct and Data Breach alleged herein.
 6                                FIFTH CAUSE OF ACTION
 7                                Arizona Consumer Fraud Act,
                                    A.R.S. §§ 44-1521, et seq.
 8                             (On Behalf of Plaintiff and the Class)
 9
            147.   Plaintiff re-alleges and incorporates by reference herein all of the allegations
10
     contained in paragraphs 1 through 79.
11
            148.   Defendant sold Plaintiff and Class members “merchandise” as that term is
12
     defined by A.R.S. § 44-1521, in the form of services, including healthcare and insurance
13
     services, as well as the sale of objects, wares, goods, and commodities at outlets where
14
     Defendant accepted payment cards in point-of-sale transactions.
15
            149.   Section 44-1522 of the Arizona Consumer Fraud Act provides:
16
17          The act, use or employment by any person of any deception, deceptive or
            unfair act or practice, fraud, false pretense, false promise, misrepresentation,
18          or concealment, suppression or omission of any material fact with intent that
19          others rely on such concealment, suppression or omission, in connection with
            the sale or advertisement of any merchandise whether or not any person has
20          in fact been misled, deceived or damaged thereby.
21
     See A.R.S. § 44-1522(A).
22
            150.   Defendant used deception, used a deceptive act or practice, and fraudulently
23
     omitted and concealed material facts in connection with the sale or advertisement of that
24
25   merchandise in violation of A.R.S. § 44-1522(A).

26          151.   Defendant omitted and concealed material facts, which it knew about and

27   had the duty to disclose—namely, Defendant’s inadequate privacy and security protections

28   for Plaintiff’s and Class members’ PHI. Defendant omitted and concealed those material



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 1   facts even though in equity and good conscience those facts should have been disclosed

 2   and did so with the intent that others would rely on the omission, suppression, and

 3   concealment.

 4            152.   The concealed facts are material in that they are logically related to the
 5   transactions at issue and rationally significant to the parties in view of the nature and
 6   circumstances of those transactions.
 7            153.   Plaintiff does not allege any claims based on any affirmative
 8   misrepresentations by Defendant; rather, Plaintiff alleges that Defendant omitted, failed to
 9   disclose, and concealed material facts and information as alleged herein, despite its duty to
10   do so.
11            154.   Defendant knew or should have known that its computer system and data
12   security practices were inadequate to safeguard Plaintiff’s and Class members’ PHI, and
13   that the risk of a data breach or theft was highly likely. Defendant’s actions in engaging in
14
     these deceptive acts and practices were negligent, knowing and willful, and wanton and
15
     reckless with respect to the rights of Plaintiff and Class members.
16
              155.   Specifically, Defendant failed to comply with the standards outlined by the
17
     FTC and HIPAA regarding protecting PHI. As a healthcare institution that has operated
18
     since 1964, Defendant was or should have been aware of these standards. Defendant’s data
19
     security systems did not follow the FTC’s guidelines and HIPAA’s Administrative
20
     Simplification Rules and, as a result, were operating below the minimum standards set
21
     forth.
22
              156.   Plaintiff and Class members were ignorant of the truth and relied on the
23
     concealed facts and incurred damages as a consequent and proximate result.
24
25            157.   Plaintiff and Class members seek all available relief under A.R.S. §§ 4421,

26   et seq., including, but not limited to, compensatory damages, punitive damages, injunctive

27   relief, and attorneys’ fees and costs.

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 1                                    PRAYER FOR RELIEF

 2          WHEREFORE Plaintiff, on behalf of herself and all others similarly situated,

 3   requests the following relief:

 4          A.   An Order certifying this action as a class action and appointing Plaintiff as
 5               Class representative and the undersigned as Class counsel;

 6          B.   A mandatory injunction directing Yuma Regional to adequately safeguard the
                 PHI of Plaintiff and the Class hereinafter by implementing improved security
 7               procedures and measures;
 8
            C.   A mandatory injunction requiring that Yuma Regional provide notice to each
 9               member of the Class relating to the full nature and extent of the Data Breach
                 and the disclosure of PHI to unauthorized persons;
10
11          D.   Enjoining Yuma Regional from further deceptive practices and making untrue
                 statements about the Data Breach and the stolen PHI;
12
            E.   An award of damages, in an amount to be determined;
13
14          F.   An award of attorneys’ fees and costs;

15          G.   An award of pre- and post-judgment interest, costs, attorneys’ fees, expenses,
                 and interest as permitted by law;
16
17          H.   Granting the Plaintiff and the Class leave to amend this complaint to conform
                 to the evidence produced at trial; and
18
            I.   Such other and further relief as this court may deem just and proper.
19
20                                DEMAND FOR JURY TRIAL

21          Plaintiff hereby demands a trial by jury on all issues so triable.

22   Dated: June 22, 2022,                      Respectfully submitted,
23                                              /s/Elaine A. Ryan
24                                              Elaine A. Ryan (AZ Bar #012870)
                                                Colleen M. Auer (AZ Bar#014637)
25                                              AUER RYAN, P.C.
                                                20987 N. John Wayne Parkway, #B104-374
26                                              Maricopa, AZ 85139
                                                520-705-7332
27                                              eryan@auer-ryan.com
                                                cauer@auer-ryan.com
28



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 1                                    MORGAN & MORGAN
                                      COMPLEX LITIGATION GROUP
 2                                    Jean S. Martin*
                                      Francesca Kester*
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                                      Tampa, Florida 33602
 4                                    Telephone: (813) 223-5505
                                      Facsimile: (813) 223-5402
 5                                    jeanmartin@forthepeople.com
 6                                    * to seek admission pro hac vice

 7                                    Counsel for the Plaintiff and the Proposed Class

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  EXHIBIT A
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                                       Notice of Security Incident

Yuma Regional Medical Center (YRMC) is committed to protecting the privacy and security of our patients’
information. Regrettably, we recently addressed a cybersecurity incident that involved some of that
information. This notice explains the incident and the measures we have taken in response:

What Happened: On April 25, 2022, we identified a ransomware incident affecting some internal systems.
Upon detecting the incident, YRMC took immediate action, taking systems offline, communicating with
law enforcement, and initiating an investigation with the help of a third-party forensic firm. The
investigation determined that an unauthorized person gained access to our network between April 21,
2022, and April 25, 2022, and removed a subset of files from our systems.

What Information was Involved: The files contained certain patient information, including names, Social
Security numbers, health insurance information and limited medical information relating to care as a
YRMC patient. Our electronic medical record application was not accessed during this incident.

What We are Doing in Response: We want to assure our community that we are taking this matter very
seriously. To help prevent something like this from happening again, we strengthened the security of our
systems and will continue enhancing our protocols to safeguard the information in our care.

We are mailing letters to affected patients and offering free credit monitoring and identify theft
protection services to those who are eligible. If you believe you are affected and do not receive a letter
by July 10, 2022, please contact our dedicated external call center at (855) 503-3409, Monday through
Friday, 6:00 a.m. to 3:30 p.m., Pacific Time.
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  EXHIBIT B
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  EXHIBIT C
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